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UNITED STATES BANKRUPTCY COURT, NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

RE: JANICE HARRIS COLE                                   ) Case No. 18 B 26152
                                                         )
                                                  Debtor ) Chapter 13
                                                         )
                                                         ) Judge: CAROL A DOYLE


                                              NOTICE OF MOTION


   JANICE HARRIS COLE                                                      KAPLAN & ASSOC
                                                                           via Clerk's ECF noticing procedures
   2018 S 24TH AVE
   BROADVIEW, IL 60155

   Please take notice that on February 12 , 2019 at 10:30 am my designee or I will appear before the Honorable
   Judge CAROL A DOYLE at 219 South Dearborn Courtroom 742, Chicago, IL and present the motion set
   forth below.

   I certify under penalty of perjury that this office caused a copy of this notice to be delivered to the persons
   named above by U.S. mail at 55 E Monroe St., Chicago, IL or by the methods indicated on January 29 ,
   2019.

                                                                             /s/ Tom Vaughn


                   TRUSTEE'S MOTION TO DISMISS FOR UNREASONABLE DELAY

   Now comes Tom Vaughn, Trustee in the above entitled case and moves the Court to dismiss this case in
   support thereof states:

   1. On September 17, 2018 the Debtor filed a petition and plan under Chapter 13 of Title 11 U.S.C.

   2. That the above-captioned plan has not yet been confirmed .

   3. That the Debtor has caused unreasonable delay that is prejudicial to creditors by failing to:

   Debtor to provide complete copy of pay advices, amend plan Section 2 .3 to use correct tax language, 5.2 to
   include student loans if Debtor is paying directly or in deferment . Plan is unfeasible.




   WHEREFORE, the Trustee prays that this case be dismissed for unreasonable delay by the debtor pursuant
   to 11 U.S.C. § 1307 (c) (1).
                                                                      Respectfully submitted,
   TOM VAUGHN
   CHAPTER 13 TRUSTEE                                                        /s/ Tom Vaughn
   55 E. Monroe Street, Suite 3850
   Chicago, IL 60603
   (312) 294-5900
